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[jiffyord] [Bench Order +]




                                                 ORDERED.
           Dated: February 05, 2021




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                     Case No.
                                                                           8:21−bk−00490−CPM
                                                                           Chapter 11

Qvesoir Tampa Limited Liability Company




________Debtor*________/


                     ORDER GRANTING ORE TENUS MOTION TO DISMISS CASE

           THIS CASE came on for hearing on February 5, 2021 , for consideration of the Ore
         Tenus Motion to Dismiss Case (Doc. 15 ), filed by Jaimon H Perry on behalf of Debtor
         Qvesoir Tampa Limited Liability Company .

           For the reasons stated orally and recorded in open court, the Ore Tenus Motion to Dismiss
         Case is Granted .

            The Court reserves jurisdiction to entertain any motion concerning the conduct, required
         disclosures, or action or inaction of the debtor's counsel

             The Court in its discretion may file written findings of facts and conclusions of law at a
         later date.

            Service Instructions:

            The Clerk's office is directed to serve a copy of this order on all parties.


         Approved for entry.
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*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly
by two individuals.
